                             Case 18-12622-MFW                       Doc 1        Filed 11/15/18               Page 1 of 14

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

                           District of Delaware
                                      (State)
 Case number (If known):                                   Chapter 11                                                                       Check if this is an
                                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/16

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




1. Debtor’s name                           Oklahoma ProCure Management, LLC




2. All other names debtor used             DBA ProCure Proton Therapy Center
   in the last 8 years
   Include any assumed names,
   trade names, and doing business
   as names



3. Debtor’s Federal Employer
                                           XX-XXXXXXX
   Identification Number (EIN)


4. Debtor’s address                        Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business

                                           5901 W. Memorial Road                               _
                                           Number        Street                                         Number      Street

                                                                                               _
                                                                                                        P.O. Box


                                           Oklahoma City, OK 73142
                                           City                       State      ZIP Code               City                        State         ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                           Oklahoma County                                     _
                                           County


                                                                                                        Number      Street




                                                                                                        City                        State         ZIP Code




5. Debtor’s website (URL)                  https://www.procure.com/Oklahoma-Explore


6. Type of debtor                               Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                Partnership (excluding LLP)
                                                Other. Specify:


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                              page 1
                              Case 18-12622-MFW                 Doc 1       Filed 11/15/18                Page 2 of 14



       Debtor                         Oklahoma ProCure Management, LLC                                Case number (if known)
                                      Name


                                     A. Check one:
7. Describe debtor’s business
                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                        Railroad (as defined in 11 U.S.C. § 101(44))
                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        None of the above
                                     B. Check all that apply:
                                        Tax-exempt entity (as described in 26 U.S.C. § 501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                        § 80a-3)
                                        Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                     C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                     http://www.uscourts.gov/four-digit-national-association-naics-codes .

                                     6214
8. Under which chapter of the        Check one:
   Bankruptcy Code is the               Chapter 7
   debtor filing?                       Chapter 9
                                        Chapter 11. Check all that apply:
                                                       Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                       insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                       4/10/19 and every 3 years after that).
                                                       The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                       debtor is a small business debtor, attach the most recent balance sheet, statement
                                                       of operations, cash-flow statement, and federal income tax return or if all of these
                                                       documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                          A plan is being filed with this petition.
                                                          Acceptances of the plan were solicited prepetition from one or more classes of
                                                          creditors, in accordance with 11 U.S.C. § 1126(b).
                                                          The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                          Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                          Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                          for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                          The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                          12b-2.
                                        Chapter 12

9. Were prior bankruptcy cases          No
   filed by or against the debtor       Yes. District
   within the last 8 years?                                                          When                 _ Case number
                                                                                            MM / DD / YYYY
   If more than 2 cases, attach a              District
   separate list.                                                                    When                 _ Case number
                                                                                            MM / DD / YYYY

10. Are any bankruptcy cases            No
   pending or being filed by a
                                        Yes. Debtor                                                             Relationship
   business partner or an
   affiliate of the debtor?                    District                                                         When
                                                                                                                               MM /   DD   / YYYY
   List all cases. If more than 1,
   attach a separate list.                     Case number, if known




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                     page 2
                          Case 18-12622-MFW                      Doc 1     Filed 11/15/18            Page 3 of 14




   Debtor                            Oklahoma ProCure Management, LLC                     Case number (if known)
                                     Name


11. Why is the case filed in this   Check all that apply:
   district?                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                       immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                       district.

                                       A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have        No
   possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
   property or personal property
                                            Why does the property need immediate attention? (Check all that apply.)
   that needs immediate
   attention?                                    It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                  What is the hazard?
                                                 It needs to be physically secured or protected from the weather.
                                                 It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                  attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                  assets or other options).

                                                 Other



                                            Where is the property?
                                                                         Number          Street

                                                                                                                                                       _

                                                                                                                    _
                                                                         City                                           State       ZIP Code


                                             Is the property insured?
                                                 No
                                                 Yes. Insurance agency

                                                         Contact name                                                                                  _

                                                         Phone




            Statistical and administrative information



13. Debtor’s estimation of          Check one:
   available funds                     Funds will be available for distribution to unsecured creditors.
                                       After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                       1-49                              1,000-5,000                                25,001-50,000
14. Estimated number of                50-99                             5,001-10,000                               50,001-100,000
   creditors                           100-199                           10,001-25,000                              More than 100,000
                                       200-999

                                       $0-$50,000                        $1,000,001-$10 million                     $500,000,001-$1 billion
15. Estimated assets                   $50,001-$100,000                  $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                       $100,001-$500,000                 $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                       $500,001-$1 million               $100,000,001-$500 million                  More than $50 billion



 Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 3
Case 18-12622-MFW   Doc 1   Filed 11/15/18   Page 4 of 14
              Case 18-12622-MFW          Doc 1    Filed 11/15/18     Page 5 of 14




                    OKLAHOMA PROCURE MANAGEMENT, LLC
                   RESOLUTIONS OF THE BOARD OF DIRECTORS

                                      November 15, 2018

       The Board of Directors (the “Board”) of Oklahoma ProCure Management, LLC, a
Delaware limited liability company (the “Company”), pursuant to the Delaware Limited Liability
Company Act and the Operating Agreement of the Company, at a duly convened meeting, does
hereby adopt the following resolutions:

             WHEREAS, the Board has considered the information presented by the
       management and legal advisors of the Company regarding the financial condition of the
       Company, the strategic alternatives available to it and the impact of the foregoing on the
       Company’s business and the treatment of its remaining patients;

               WHEREAS, the Board has been briefed on the proposed voluntary bankruptcy
       petition to be filed by the Company in the United States Bankruptcy Court for the District
       of Delaware (the “Bankruptcy Court”) for relief under the provisions of chapter 11 of title
       11 of the United States Code (the “Bankruptcy Code”), in which the Company intends to
       operate its business and manage its property as a debtor-in-possession;

               WHEREAS, management and legal advisors have informed the Board of the
       material terms of a proposed Term Sheet (together with its exhibits, the “DIP Term
       Sheet”), by and between Allied Health Management, LLC, as lender (the “DIP Lender”),
       an entity affiliated with David Raubach, and the Company, as borrower, which DIP Term
       Sheet, together with its exhibits sets forth the terms and conditions of a super-priority
       secured debtor-in-possession financing facility and agreement for use of cash collateral
       (together, the “DIP Facility”);

             WHEREAS, the DIP Facility is intended to, among other things, fund the
       Company’s operations and restructuring related fees and expenses during its
       contemplated chapter 11 bankruptcy proceeding;

              WHEREAS, the Board has had the opportunity to consult with the management
       and the legal advisors to the Company and fully consider each of the strategic alternatives
       available to the Company;

       Chapter 11 Filing

               NOW THEREFORE, BE IT RESOLVED, that the Company file a petition in
       the Bankruptcy Court seeking relief under the provisions of chapter 11 of the Bankruptcy
       Code, in which the authority to operate as a debtor-in-possession will be sought, and the
       filing of such petition is authorized hereby; and it is further

              RESOLVED, that each of James Loughlin, Tom Hsin-Chieh Wang, and Andrew
       Knizley (each, an “Authorized Officer,” and, collectively, the “Authorized Officers”) is
       Case 18-12622-MFW          Doc 1       Filed 11/15/18   Page 6 of 14




hereby authorized, empowered and directed, in the name and on behalf of the Company,
to execute and verify a petition under Chapter 11 of the Bankruptcy Code and to cause
the same to be filed in the Bankruptcy Court at such time as said Authorized Officer
executing the same shall determine it to be in the best interests of the Company; and it is
further

        RESOLVED, that the Authorized Officers be, and each of them, with full
authority to act without the others, hereby is, authorized, empowered and directed in the
name and on behalf of the Company, to execute and file or cause to be executed and filed
(or to direct others to do so on their behalf as provided herein) all necessary documents,
including, without limitation, all petitions, affidavits, schedules, motions, lists,
applications, pleadings and other papers, and in that connection to employ and retain all
assistance by legal counsel, accountants or other professionals and to take any and all
other action which they or any one of them deem necessary or appropriate in connection
with the chapter 11 case contemplated hereby, with a view to the successful prosecution
of such case; and it is further

Retention of Advisors

        RESOLVED, that the law firm of Morris, Nichols, Arsht & Tunnell LLP be, and
hereby is , employed under a general retainer to render legal services to, and to represent,
the Company in connection with the chapter 11 case and any other related matters in
connection therewith, on such terms as any Authorized Officers shall approve; and it is
further

        RESOLVED, that the Authorized Officers be, and each of them, with full
authority to act without the others, hereby is, authorized, empowered and directed, on
behalf of, and in the name of the Company, to retain such other professionals and a
claims and noticing agent, each as they deem appropriate during the course of the chapter
11 case; and it is further

DIP Financing / Cash Collateral

        RESOLVED, that in connection with the connection of the chapter 11 case by the
Company, any Authorized Officer be, and hereby is, authorized, directed and empowered
in the name of and on behalf of the Company, as debtor and debtor-in-possession, to
negotiate, execute and deliver (i) the DIP Term Sheet and in connection therewith, such
agreements, certificates, instruments, collateral documents, mortgages, guarantees,
notices and any and all other documents that the Authorized Officers may deem
necessary or appropriate to facilitate the execution or deliver of the DIP Facility and the
pledge of collateral in connection therewith, the signature of such Authorized Officer to
be deemed conclusive evidence of such determination, and (ii) such other agreements for
secured super-priority debtor in possession loan facilities and/or agreements for the use of
cash collateral that the Authorized Officers may deem appropriate for and in the best
interests of the Company, each on terms that the Authorized Officers may deem
necessary or appropriate for the consummation of the transactions contemplated thereby,

                                          2
       Case 18-12622-MFW          Doc 1       Filed 11/15/18   Page 7 of 14




the signature of such Authorized Officer to be deemed conclusive evidence of such
determination; and it is further

Potential Sale Transaction

       RESOLVED, that the Company and any Authorized Officers are hereby
authorized, directed and empowered, on behalf of and in the name of the Company to file
a motion with the Bankruptcy Court seeking approval of a potential sale of all or
substantially all of the Company’s assets pursuant to, inter alia, sections 363 and 365 of
the Bankruptcy Code, to The Oklahoma Proton Center, LLC, an entity affiliated with
David Raubach, or such other person or entity that in the exercise of discretion any
Authorized Officer presents the highest and best offer for all or substantially all of the
Company’s assets within the timeframe available to the Company (any such transaction,
a “Potential Sale Transaction”); and it is further

         RESOLVED, that any Authorized Officer is hereby authorized, directed and
empowered on behalf of, and in the name of, the Company to (a) take actions and
negotiate, or cause to be prepared and negotiated, and subject to Bankruptcy Court
approval as required, to execute, deliver, perform and cause the performance of any
agreements (including asset purchase agreements), certificates, instruments, receipts,
petitions, motions or other papers or documents in furtherance of, and necessary to
effectuate, any Potential Sale Transactions to which the Company is or will be a party
and (b) request the Bankruptcy Court to approve any Potential Sale Transaction
(including a sale of the Company’s assets to a higher or better bidder) and for any related
relief; and it is further

Fees and Expenses

        RESOLVED, that the Authorized Officers be, and each of them, with full
authority to act without the others, hereby is, authorized, empowered and directed, in the
name and on behalf of the Company, to incur and pay or cause to be paid all such fees
and expenses as in their judgment shall be necessary, appropriate or advisable to
effectuate the purpose and intent of any and all of the foregoing resolutions, the making
of any such payment conclusively to evidence the due authorization and approval thereof
by the Board; and it is further

General

         RESOLVED, that the Authorized Officers of the Company be, and each of them,
with full authority to act without the others, hereby is, authorized, empowered and
directed, in the name and on behalf of the Corporation, to take or cause to be taken any
and all such further action and to execute and deliver or cause to be executed or delivered
all such further agreements, certificates, undertakings, instruments and any and all other
documents and amendments as in their judgment shall be necessary, appropriate or
advisable to effectuate the purpose and intent of any and all of the foregoing resolutions;
and it is further

                                          3
              Case 18-12622-MFW         Doc 1       Filed 11/15/18   Page 8 of 14




               RESOLVED, that the Authorized Officers be, and each of them, with full
       authority to act without the others, hereby is, authorized, empowered and directed, on
       behalf of and for and in the name of the Company, to amend, supplement or otherwise
       modify from time to time the terms of any agreements, undertakings, documents,
       certificates, instruments, agreements or other writings referred to in the foregoing
       resolutions; and it is further

               RESOLVED, that any and all actions heretofore taken by any member of the
       Board or the Authorized Officers consistent with the purpose and intent of the foregoing
       resolutions are hereby authorized, ratified, approved, confirmed and adopted in all
       respects as the acts and deeds of the Company as fully as if such actions had been
       presented to the Board for its prior approval.

The undersigned hereby certifies that he is the duly elected Secretary and custodian of the books
and records of the Company and the foregoing is a true and correct record of a resolution duly
adopted by the Board at a special meeting of the Board noticed, convened and held on November
15, 2018, all in accordance with the Company’s Operating Agreement and applicable provisions
of the Delaware Limited Liability Company Act.

IN WITNESS WHEREOF, I have executed this resolution as Secretary this 15th day of
November, 2018.



       `

                                                     Tom Hsin-Chieh Wang, Secretary




                                                4
                                     Case 18-12622-MFW                         Doc 1           Filed 11/15/18              Page 9 of 14

      Fill in this information to identify the case:

      Debtor name    Oklahoma ProCure Management, LLC
      United States Bankruptcy Court for the:                            District of   Delaware
                                                                                           (State)                                                          Check if this
      Case number (If known):                                                                                                                               is an
                                                                                                                                                            amended
                                                                                                                                                            filing


    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                                 12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
    debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
    include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
    among the holders of the 20 largest unsecured claims.

     Name of creditor and complete         Name, telephone number,                Nature of the claim      Indicate if     Amount of unsecured claim
     mailing address, including zip        and email address of creditor          (for example, trade      claim is        If the claim is fully unsecured, fill in only unsecured
     code                                  contact                                debts, bank loans,       contingent,     claim amount. If claim is partially secured, fill in total
                                                                                  professional services,   unliquidated,   claim amount and deduction for value of collateral or
                                                                                  and government           or disputed     setoff to calculate unsecured claim.
                                                                                  contracts)
                                                                                                                           Total claim, if      Deduction for         Unsecured
                                                                                                                           partially            value of              claim
                                                                                                                           secured              collateral or
                                                                                                                                                setoff

     IBA Proton Therapy, Inc.             Vincent Chauvier                       Equipment Services                                                                 $4,718,934.00
     151 Heartland Blvd.                  vincent.chauvier@iba-group.com
     Edgewood, NY 11717                   Phone: (571) 449-4999
1


     Proton Center Development            Andrew Chang                           Professional Services                                                              $1,252,500.00
     Corporation                          andrewlchangmd@gmail.com
     251 Flyers Lane                      Phone: (951) 533-4889
2    Tustin, CA 92782



     Integris Realty Corporation          Susan M. Henderson, J.D.               Ground Lease and IT                                                                $559,061.44
     3433 NW 56th Suite 100               Susan.Henderson@integrisok.com         License
     Oklahoma City, OK 73112              Phone: (405) 951-4779
3



     Arent Fox LLP                        Douglas A. Grimm                       Professional Services                                                              $414,675.97
     1717 K Street NW                     douglas.grimm@arentfox.com
     Washington, DC 20006                 Phone: (202) 857-6370
4



     OU Medical Center                    President or General Counsel           Medical Services                                                                   $224,696.82
     PO Box 277362                        Phone: (866) 656-8715
     Atlanta, GA 30384
5



     Elekta, Inc.                         Arishnah Smith                         Software Services                                                                  $145,549.50
     PO Box 404199                        arishnah.smith@elekta.com
     Atlanta, GA 30384                    Phone: (770) 670-2435
6



     Proton Collabortative Group          Andrew Chang                           Membership Dues                                                                    $126,666.60
     4455 Weaver Parkway                  andrewlchangmd@gmail.com
7    Warrenville, IL 60555                Phone: (951) 533-4889




     Radiation Medicine Associates Inc.   Claudia Mattox                         Medical Director                                                                   $87,500.00
     PO Box 248856                        claudiamattox@okradonc.com             Services
     Oklahoma City, OK 73124              Phone: (405) 607-4520
8


    Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                              page 1
                                       Case 18-12622-MFW                     Doc 1          Filed 11/15/18             Page 10 of 14
     Debtor          Oklahoma ProCure Management, LLC                                                     Case number (if known)
                     Name
     Name of creditor and complete          Name, telephone number,           Nature of the claim      Indicate if      Amount of unsecured claim
     mailing address, including zip         and email address of creditor     (for example, trade      claim is         If the claim is fully unsecured, fill in only unsecured
     code                                   contact                           debts, bank loans,       contingent,      claim amount. If claim is partially secured, fill in total
                                                                              professional services,   unliquidated,    claim amount and deduction for value of collateral or
                                                                              and government           or disputed      setoff to calculate unsecured claim.
                                                                              contracts)
                                                                                                                        Total claim, if      Deduction for         Unsecured
                                                                                                                        partially            value of              claim
                                                                                                                        secured              collateral or
                                                                                                                                             setoff

     GE Healthcare                        David R. Smith                      Equipment Services                                                                 $84,441.50
     PO Box 96483                         david.r.smith@med.ge.com
     Chicago, IL 60693                    Phone: (405) 315-5869
9



     Varian Medical Systems, Inc.         Thomas Brunson                      License and Software                                                               $37,950.00
     3100 Hansen Way                      thomas.brunson@varian.com           Services
     Palo Alto, CA 94304                  Phone: (832) 463-8431
10



     Katz Radio Group Network             Kimberly Browne                     Marketing Services                                                                 $30,999.98
     12022 Collections Centre Drive       Phone: (212) 424-6516
     Chicago, IL 60693
11



   Presidio Networked Solutions           Brett DeMayo                        IT Services                                                                        $19,086.00
   PO Box 822169                          brettd@presidio.com
12 Philadelphia, PA 19182                 Phone: (781) 638-2238



   First Maintenance Company                                                  Facility Services                                                                  $13,227.74
   208 N.W. 60th Street                   President or General Counsel
13 Oklahoma City, OK 73118


   Freeman Manufacturing & Supply         Linda Hatmaker                      Medical Supplies                                                                   $12,757.82
   PO Box 72523                           lhatmaker@freemansupply.com
14 Cleveland, OH 44192                    Phone: (404) 934-1902




   United Mechanical                                                          Facility Services                                                                  $12,688.00
   117 NE 38th Terrace
15 Oklahoma  City, OK 73105               President or General Counsel



   McAfee & Taft                          Elizabeth Dalton Tyrrell            Professional Services                                                              $10,539.50
   211 North Robinson                     elizabeth.tyrrell@mcafeetaft.com
       Leadership Square, 10th Floor
16 Two
   Oklahoma City, OK 73102
                                          Phone: (405) 552-2217




   BNP Paribas Fortis                     Martine Periglione                   Agency Fee                                                                        $8,750.00
   Montage du Parc 3                      martine.periglione@bnpparibasfortis.
17 Brussels 1000, Belgium                 com
                                          Phone: +32 (0) 2 565-2086



   BKD, LLP                               Greg Rexing                         Professional Services                                                              $8,675.00
   201 N. Illinois Street, Suite 700      grexing@bkd.com
18 P.O. Box 44998
   Indianapolis, IN 46244
                                          Phone: (812) 336-8550



   MSC Technologies, Inc.                                                     IT Services                                                                        $7,873.00
   5909 NW Expressway, Suite 200          President or General Counsel
19 Oklahoma City, OK 73132                Phone: (405) 721-5577




   National Bronze and Metals, Inc.       President or General Counsel        Medical Supplies                                                                   $7,157.50
   PO Box 800818                          Phone: (800) 231-0771
20 Houston, TX 77280




     Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                          page 2
              Case 18-12622-MFW            Doc 1     Filed 11/15/18      Page 11 of 14




                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE


In re                                                   Chapter 11

Oklahoma ProCure Management, LLC,                       Case No. 18-_____ (___)

                        Debtor.1

                          CORPORATE OWNERSHIP STATEMENT

                The above-captioned debtor and debtor in possession (the “Debtor”) makes this

statement under rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure. The

Debtor hereby certifies that the following entities, corporations and individuals directly or

indirectly own 10% or more of any class of the Debtor’s equity interests:

      Name of Equity                 Last Known Address of                  Equity Interest Held
      Interest Holder                 Equity Interest Holder
ProCure Midwest                    P.O. Box 2267                                    55.07%
Holdings, LLC                      Bloomington, IN 47402
McClendon Venture                  P.O. Box 18756                                   22.67%
Company, LLC                       Oklahoma City, OK 73154




1
        The Debtor in this case, along with the last four digits of the Debtor’s federal EIN, is Oklahoma
        ProCure Management, LLC (9763). The Debtor’s mailing address is 5901 W. Memorial Rd.,
        Oklahoma City, Oklahoma 73142.
              Case 18-12622-MFW            Doc 1     Filed 11/15/18      Page 12 of 14




                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE


In re                                                   Chapter 11

Oklahoma ProCure Management, LLC,                       Case No. 18-_____ (___)

                        Debtor.1

                           LIST OF EQUITY SECURITY HOLDERS

                The above-captioned debtor and debtor in possession (the “Debtor”) provides this

list of equity security holders pursuant to rule 1007(a)(3) of the Federal Rules of Bankruptcy

Procedure.

  Holder of Equity Securities            Nature of Interests Held              Percentage Held
ProCure Midwest Holdings, LLC
P.O. Box 2267                                 Common Shares                          55.07%
Bloomington, IN 47402
McClendon Venture
Company, LLC
(on behalf of Series B)                       Common Shares                          22.67%
P.O. Box 18756
Oklahoma City, OK 73154
Radiation Medicine
Investments, LLC
5300 North Grand Blvd.                        Common Shares                          6.00%
Suite 301
Oklahoma City, OK 73112
Tercet Partners, LLC
(on behalf of Series J)
                                              Common Shares                          5.66%
P.O. Box 61091
Oklahoma City, OK 73146
Tercet Partners, LLC
(on behalf of Series K)
                                              Common Shares                          5.00%
P.O. Box 61091
Oklahoma City, OK 73146



1
        The Debtor in this case, along with the last four digits of the Debtor’s federal EIN, is Oklahoma
        ProCure Management, LLC (9763). The Debtor’s mailing address is 5901 W. Memorial Rd.,
        Oklahoma City, Oklahoma 73142.
           Case 18-12622-MFW      Doc 1       Filed 11/15/18   Page 13 of 14




  Holder of Equity Securities   Nature of Interests Held            Percentage Held
Radiation Oncology
Investments, LLC
                                    Common Shares                       4.00%
4200 West Memorial Road, #306
Oklahoma City, OK 73120
Oklahoma ProCure
Investments, LLC
                                    Common Shares                       1.60%
P.O. Box 2267
Bloomington, IN 47402




                                          2
 Case 18-12622-MFW   Doc 1     Filed 11/15/18   Page 14 of 14




11/15/18


                     James J. Loughlin, Jr.

                     VP/Assistant Treasurer
